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iN THE UNITED sTATEs DISTRICT coURT n _ 7c
FOR THE wEsTERN DIsTRIcT 0F TENNEssss l
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U'NITED STATES OF` AMERICA ;'J.D. C‘F `i§\]. ¢- .;ln.~"§ri .o
Plaintiff,

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) Criminal No.;§§£::ZZZCLELMl
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;;) (;L }§. ) (EO-Day Continuance)
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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF 'I'IME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, August 26, 2005, With trial to take place on
the September, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through September 16, 2005. Agreed in

open court at report date this 24th day of June, 2005.

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SO ORDERED this 24th day of June, 2005.

gsa MQQ

 

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

Assistant United States Attorney

 

 

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;Q;, / <§4/2

 

 

 

 

Counsel for Defendant{s)

   

UNITED sTATE DISTRIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20139 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Eugene A. Laurenzi

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Stephen P. Hall

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

